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 8                                   UNITED STATES DISTRICT COURT
 9                                  NORTHERN DISTRICT OF CALIFORNIA
10

11   OPERATING ENGINEERS’ HEALTH AND                          Case No. 3:20-cv-04604-LB
     WELFARE TRUST FUND FOR NORTHERN
12   CALIFORNIA, et al.,                                      NOTICE OF VOLUNTARY DISMISSAL
13                    Plaintiffs,
14           v.
15
     FOOTHILL SWEEPING, a California
16   Corporation; and CASEY J. SWINEY, an
     Individual,
17
                      Defendants.
18

19           PLEASE TAKE NOTICE that pursuant to F.R.C.P. Rule 41(a)(1), Plaintiffs Operating
20   Engineers’ Health And Welfare Trust Fund for Northern California, et al. voluntarily dismiss, without
21   prejudice, their claim against Defendant Foothill Sweeping, a California Corporation; and Defendant
22   Casey E. Swiney, an individual (collectively “Defendants”). Defendants have neither served an answer
23   nor moved for summary judgment, and Plaintiffs have not previously filed or dismissed any similar
24   action against Defendants.
25   Dated: February 25, 2021                           SALTZMAN & JOHNSON
                                                        LAW CORPORATION
26
                                                 By:                                      /S/
27
                                                        Ana P. Hallmon
28                                                      Attorneys for Plaintiffs, Operating Engineers’
                                                        Health And Welfare Trust Fund, et al.
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     NOTICE OF VOLUNTARY DISMISSAL
     Case No. 20-cv-04604 LB                                        P:\CLIENTS\OE3CL\Foothill Sweeping\Pleadings\Notice of Dismissal 022521.docx
